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                               UNITED STATES DISTRICT COURT
                                 DISTRICT OF CONNECTICUT

BARBARA M. JOYNER                                                          JURY TRIAL DEMANDED

v.                                                       CASE NO. 3:11 CV 1679 (CFD)

CLIENT SERVICES, INC.


                                        NOTICE OF DISMISSAL

         Pursuant to Rule 4l(a)(l), plaintiff hereby dismisses the within action, with

prejudice and without costs or fees based on the parties’ settlement agreement.

                                                                  THE PLAINTIFF


                                                                  BY_____/s/ Joanne S. Faulkner__
                                                                  JOANNE S. FAULKNER ct04137
                                                                  123 Avon Street
                                                                  New Haven, CT 06511-2422
                                                                  (203) 772-0395


         Certificate of Service

          I hereby certify that on December 13, 2011, a copy of foregoing Notice of Dismissal was filed
electronically. Notice of this filing will be sent by e-mail to all parties by operation of the Court’s electronic
filing system. Parties may access this filing through the Court’s system.

                                                                  ____/s/ Joanne S. Faulkner___
                                                                  JOANNE S. FAULKNER ct04137
                                                                  123 Avon Street
                                                                  New Haven, CT 06511-2422
                                                                  (203) 772 0395
                                                                  j.faulkner@snet.net
